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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

JUDE ALEXIS,
         Plaintiff,
v.                                                   Case No. 4:19-cv-259-AW-MAF
MARK S. INCH, et al.,
     Defendants.
_______________________________/
           ORDER ADOPTING REPORT AND RECOMMENDATION

         I have considered the magistrate judge’s October 6, 2020, Report and

Recommendation. ECF No. 14. No objections have been filed. I have determined

the Report and Recommendation should be adopted, and it is incorporated into this

order.

         The clerk will enter a judgment that says “This case is dismissed for failure to

prosecute and failure to comply with a court order.” The clerk will then close the

file.

         SO ORDERED on November 6, 2020.

                                          s/ Allen Winsor
                                          United States District Judge
